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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 DISPLAY TECHNOLOGIES LLC,

                               Plaintiff,
                                                          Civil Action No. 2:15-cv-1631
                v.
                                                          JURY TRIAL DEMANDED
 RICOH AMERICAS CORPORATION,


                               Defendant.


 PLAINTIFF DISPLAY TECHNOLOGIES LLC’S ANSWER TO DEFENDANT RICOH
              AMERICAS CORPORATION’S COUNTERCLAIMS

       Plaintiff, Display Technologies LLC (“Plaintiff”), answers the Counterclaims of Defendant

Ricoh Americas Corporation (“Defendant”) filed December 15, 2015 (Dkt. No. 14). Plaintiff

answers the Counterclaims of Defendant by corresponding paragraph number as follows:

                                      COUNTERCLAIMS

                                            THE PARTIES

        1. Admitted.

        2. Admitted.

                               JURISDICTION AND VENUE

       3.     Plaintiff admits that these counterclaims purport to arise under the patent laws of

28 U.S.C. §§ 1331, 1338, the Patent Act, 35 U.S.C. § 100 et seq., and 28 U.S.C. § 2201, et seq.

Except as so admitted, the remaining allegations in paragraph 3 are denied.

       4.     Admitted.

       5.     Plaintiff admits that venue is proper under 28 U.S.C. §§ 1391(b)-(c) and 1400(b).

Except as so admitted, the remaining allegations in paragraph 5 are denied.
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                                   FIRST COUNTERCLAIM
                                (Declaration of Non-Infringement)

          6.    Plaintiff incorporates by reference the allegations and statements set forth in the

preceding paragraphs of these Answers to Defendant’s Counterclaims in their entirety as if set

forth herein.

          7.    Admitted.

          8.    Admitted.

          9.    Admitted.

          10.   Plaintiff admits an actual case or controversy has arisen and exists between

Plaintiff and Defendant in regards to Defendant’s infringement of the ’195 Patent. Except as so

admitted, the remaining allegations in paragraph 10 are denied.

          11.   Denied.

          12.   Plaintiff admits that Defendant seeks a judicial determination of its rights and duties

with respect to the alleged infringement ’195 Patent. However, Plaintiffs deny that Defendant is

entitled to any such relief. Except as so admitted, the remaining allegations in paragraph 12 are

denied.

          13.   Denied.

                                  SECOND COUNTERCLAIM
                                 (Declaration of Patent Invalidity)
          14.   Plaintiff incorporates by reference the allegations and statements set forth in the

preceding paragraphs of these Answers to Defendant’s Counterclaims in their entirety as if set

forth herein.

          15.   Admitted.

          16.   Plaintiff admits that Defendant seeks a judicial determination of its rights and

duties with respect to the alleged infringement ’195 Patent. However, Plaintiffs deny that
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Defendant is entitled to any such relief. Except as so admitted, the remaining allegations in

paragraph 16 are denied.

          17.    Denied.

          18.    Plaintiff admits that Defendant seeks a judicial determination of its rights and duties

with respect to the alleged invalidity ’195 Patent. However, Plaintiffs deny that Defendant is

entitled to any such relief. Except as so admitted, the remaining allegations in paragraph 18 are

denied.

          19.    Denied.

                                             JURY DEMAND

          Defendant’s Demand for Jury Trial is an averment to which no responsive pleading is

required pursuant to FED. R. CIV. P. 8(d) and is therefore denied.

                                        PRAYER FOR RELIEF

          Defendant’s Prayer for Relief is an averment to which no responsive pleading is required

pursuant to FED. R. CIV. P. 8(d) and is therefore denied.

          DATED January 5, 2016.                        Respectfully submitted,


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                                                     ATTORNEYS FOR PLAINTIFF
                                                     DISPLAY TECHNOLOGIES, LLC



                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 5th day of January, 2016, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
Division, using the electronic case filing system of the court. The electronic case filing system
sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
accept this Notice as service of this document by electronic means.

                                              /s/ Krystal L. Gibbens ___
                                              Krystal L. Gibbens
